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                    EXHIBIT A
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                                                                                                    Exhibit A
                                                                                                Fee App Service List
                                                                                             Served as set forth below

Description                                       Name                                  Address                                Fax          Email                                     Method of Service
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